Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 1 of 45




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                   Plaintiff,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant.
   ___________________________________/

                 JOINT SUMMARY OF THE PARTIES’ MOTIONS IN LIMINE1

            Plaintiff, Digna Vinas, and Defendant, The Independent Order of Foresters (“Foresters”),
   pursuant to the Court’s Order Setting Civil Trial Date and Pretrial Deadlines [D.E. 92], file their
   Joint Summary of the Parties Motions in Limine.
   Respectfully submitted this 26th day of February, 2021.

        /s/ Craig M. Greene____________________           /s/ Danielle E. Shure
        CRAIG M. GREENE, ESQUIRE                          KRISTINA B. PETT, ESQUIRE
        Florida Bar No.: 618421                           Florida Bar No.: 0973688
        cgreene@kramergreen.com                           Kristina.pett@mhllp.com
        KRAMER, GREEN, ZUCKERMAN, GREENE                  DANIELLE E. SHURE
        & BUCHSBAUM, P.A.                                 Florida Bar No. 118911
        4000 Hollywood Blvd., Ste. 485-S                  Danielle.shure@mhllp.com
        Hollywood, FL 33021                               McDOWELL HETHERINGTON, LLP
        Telephone: (954) 966-2112                         2385 N.W. Executive Center Drive
        Facsimile: (954) 981-1605                         Suite 400
        Attorneys for Plaintiff                           Boca Raton, FL 33431
                                                          Telephone: (561) 994-4311
                                                          Facsimile: (561) 982-8985
                                                          Attorneys for Defendant



            1
             The parties agree that the following Motions in Limine may change in argument,
   relief sought, or potentially be totally eliminated, depending upon the Court’s rulings on
   pending dispositive/partially dispositive and Daubert motions.
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 2 of 45




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY a true and correct copy of was filed with the Clerk of this Court
   via the CM/ECF filing and that a copy has been sent via electronic mail this 26th day of
   February to Kristina B. Pett, Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq.,
   Danielle.shure@mhllp.com, McDowell, Hetherington, LLP, 2101 N.W. Corporate Blvd.,
   Suite 316, Boca Raton, FL 33431.

                                           KRAMER, GREEN, ZUCKERMAN,
                                           GREENE & BUCHSBAUM, P.A.
                                           Co-Counsel for Plaintiff
                                           4000 Hollywood Blvd., Suite 485-S
                                           Hollywood, FL 33021
                                           (954) 966-2112 – phone
                                           (954) 981-1605 - fax

                                           By:    ____/s/ Craig M. Greene
                                                  Craig M. Greene, Esq.
                                                  Fla. Bar No. 618421
                                                  cgreene@kramergreen.com

                                                  and

                                           Adrian Neiman Arkin, Esq.
                                           MINTZ, TRUPPMAN, P.A.
                                           Co-Counsel for Plaintiff
                                           1700 Sans Souci Boulevard
                                           North Miami, FL 33181
                                           (305) 893-5506 – phone
                                           adrianarkin@mintztruppman.com
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 3 of 45




                                           INDEX


          Plaintiff’s First Motion in Limine to Preclude Argument, Testimony   Page 6
          or Other Evidence Claiming That Jazmin Lightbourn Was Not
          Foresters’ Agent Authorized to Speak on its Behalf

          Defendant’s Response to Plaintiff’s First Motion in Limine           Page 7

          Plaintiff’s Second Motion in Limine to Preclude Any Argument or Page 8
          Evidence Regarding Vicarious Liability

          Defendant’s Response to Plaintiff’s Second Motion in Limine          Page 9

          Plaintiff’s Third Motion in Limine to Preclude Any Argument or Page 10
          Evidence that Jazmin Lightbourn Also Sold Policies for Other
          Insurers

          Defendant’s Response to Plaintiff’s Third Motion in Limine           Page 11

          Plaintiff’s Fourth Motion in Limine to Preclude Any Argument or Page 12
          Evidence that Jazmin Lightbourn Received Applications or Other
          Materials From NMO/BGA Sources

          Defendant’s Response to Plaintiff’s Fourth Motion in Limine          Page 13

          Plaintiff’s Fifth Motion in Limine to Preclude the Defendant From Page 14
          Offering Any Testimony, Argument or Evidence Suggesting That
          Mr. Vinas Did Not Answer Application Questions to His Best
          Knowledge and Belief

          Defendant’s Response to Plaintiff’s Fifth Motion in Limine           Page 15

          Plaintiff’s Sixth Motion in Limine to Preclude Any Reference or Page 16
          Suggestion to the Fact that Mr. Vinas Did or Did Not Have Diabetes
          or Other References to Dr. Hershman’s Records

          Defendant’s Response to Plaintiff’s Sixth Motion in Limine           Page 17

          Plaintiff’s Seventh Motion in Limine to Preclude Any Argument Page 18
          That Foresters “Reasonably Believed” Mr. Vinas Had Been
          Diagnosed With Diabetes

          Defendant’s Response to Plaintiff’s Seventh Motion in Limine         Page 19
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 4 of 45




          Plaintiff’s Eighth Motion in Limine to Preclude Any Reference to Page 20
          Dr. Hershman’s 2020 Letter

          Defendant’s Response to Plaintiff’s Eighth Motion in Limine        Page 21

          Plaintiff’s Ninth Motion in Limine to Preclude Any Reference to Page 22
          Foresters’ Net Worth for the Purpose of Reducing Punitive Damages

          Defendant’s Response to Plaintiff’s Ninth Motion in Limine         Page 23

          Plaintiff’s Tenth Motion in Limine to Preclude Any Reference to Page 24
          Discovery in This Case

          Defendant’s Response to Plaintiff’s Tenth Motion in Limine         Page 25

          Plaintiff’s Eleventh Motion in Limine to Preclude Argument, Page 26
          Testimony or Other Evidence Relating to a Claim That Ms. Vinas
          Does Not Have Standing to Pursue This Action

          Defendant’s Response to Plaintiff’s Eleventh Motion in Limine      Page 27

          Plaintiff’s Twelfth Motion in Limine to Preclude Any Reference to Page 28
          Any Bad Faith Claim or “Cure” Thereof By Paying Death Benefits
          With Interest

          Defendant’s Response to Plaintiff’s Twelfth Motion in Limine       Page 29

          Plaintiff’s Thirteenth Motion in Limine to Preclude Defendant From Page 30
          Offering Testimony or Other Evidence as to the Propriety or
          Appropriateness of Any Representations Made at the Time of Sale
          or Any Testimony That is Consistent With the Positions Taken by
          Foresters’ Corporate Representatives During Discovery

          Defendant’s Response to Plaintiff’s Thirteenth Motion in Limine    Page 31

          Plaintiff’s Fourteenth Motion in Limine to Preclude Argument or Page 32
          Testimony or Other Evidence Relating to Documents or Information
          Withheld From Production or Otherwise Objected to by Foresters

          Defendant’s Response to Plaintiff’s Fourteenth Motion in Limine    Page 33

          Plaintiff’s Fifteenth Motion in Limine to Preclude the Testimony of Page 34
          Marc S. Frager, M.D.

          Defendant’s Response to Plaintiff’s Fifteenth Motion in Limine     Page 35
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 5 of 45




          Defendant’s Motion in Limine to preclude Plaintiff from Arguing that Page 36
          Ms. Lightbourn was Foresters’ Agent, and Introducing Evidence of
          Ms. Lightbourn’s Alleged Statements.

          Plaintiff’s Response to Defendant’s Motion in Limine to preclude Page 37
          Plaintiff from Arguing that Jazmin Lightbourn was Foresters’ Agent,
          and from Introducing Evidence of Ms. Lightbourn’s Alleged
          Statements.

          Defendant’s Motion in Limine to Preclude Plaintiff from Introducing Page 38
          Bad Faith Claims Handling Evidence.

          Plaintiff’s Response to Defendant’s Motion in Limine to Preclude Page 39
          Plaintiff from Introducing Bad Faith Claims Handling Evidence.

          Defendant’s Motion in Limine to Preclude Plaintiff from Introducing Page 40
          Evidence of, or Seeking, Consequential Damages.

          Plaintiff’s Response to Defendant’s Motion in Limine to Preclude Page 41
          Plaintiff from Introducing Evidence of or Seeking Consequential
          Damages.

          Defendant’s Motion in Limine to Preclude Plaintiff from Introducing Page 42
          Evidence of, or Seeking, Punitive Damages.

          Plaintiff’s Response Defendant’s Motion in Limine to Preclude Page 43
          Plaintiff from Introducing Evidence of, or Seeking, Punitive
          Damages.

          Defendant’s Motion in Limine to Preclude Plaintiff From Offering Page 44
          Testimony About Mr. Vinas’ Communications with Rushmore Bank
          and Ms. Lightbourn


          Plaintiff’s Response to Defendant’s Motion in Limine to Preclude Page 45
          Plaintiff From Offering Testimony About Mr. Vinas’
          Communications with Rushmore Bank and Ms. Lightbourn
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 6 of 45




      PLAINTIFF’S FIRST MOTION IN LIMINE TO PRECLUDE ARGUMENT,
   TESTIMONY OR OTHER EVIDENCE CLAIMING THAT JAZMIN LIGHTBOURN
    WAS NOT FORESTERS’ AGENT AUTHORIZED TO SPEAK ON ITS BEHALF.

          The evidence is undisputed that Jazmin Lightbourn was authorized to, and did sell,
   the present insurance policy on behalf of Foresters. (D.E. 158, at ¶ 2). The evidence is similarly
   undisputed that Ms. Lightbourn made representations that she was authorized to make by
   Foresters. (Id., at ¶¶ 3, 17).
          Foresters’ Corporate Representative (“CR”) agreed that “it’s necessary for the
   independent agent to communicate with the prospective insured about the [Foresters] product
   that they are looking to sell”; accordingly, “Foresters authorizes these people to make
   accurate representations about Foresters’ products.” (Parrott, Depo, D.E. 158-3, p. 39, l. 22-
   p. 40, l. 7). There was no question that Lightbourn’s statement to the Vinases was accurate:
                  Q.      And the standard for accuracy per Foresters own application
                          is the insured's best knowledge and belief, whether they are
                          telling the truth or not, right?
                  A.      That is correct.

   (Parrott, Depo, D.E. 158-3, p. 86, lines 13-23). (Emphasis Supplied). If the CR discovered
   the claims department2 applied a different standard, he would “have a problem with that,”
   because Foresters’ “standard for accuracy” is “the insured’s best knowledge and belief,
   whether they are telling the truth or not.” (Id., at p. 85, l. 5 – p. 86, l. 23).
          Any claim, assertion, evidence or argument that Ms. Lightbourn was not Foresters’
   agent authorized to sell the policy and make representations on its behalf would contradict
   the undisputed evidence in the record. In fact, Foresters’ relationship with Ms. Lightbourn
   was revealed when Foresters provided contact information for Ms. Lightbourne that was only
   through Foresters’ counsel’s office. (D.E. 37-42). There is no basis to permit Foresters to
   attempt to disavow Ms. Lightbourn at trial when Foresters has admitted its relationship with
   her during litigation. With no evidence to present, any argument that Ms. Lightbourn was
   not acting as an authorized agent, would only impermissibly confuse the jury under Rule 403.




          2
            Mr. Parrot is Foresters’ Chief Underwriting Officer. (D.E. 158-3, at 6). Foresters
   refused to re-designate the VP of its claims department for a second deposition. (D.E. 109).
                                                     6
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 7 of 45




        DEFENDANT’S RESPONSE TO PLAINTIFF’S FIRST MOTION IN LIMINE3
            Plaintiff argues that Foresters should not be able to present evidence showing that Ms.
   Lightbourn was not its agent solely because, according to Plaintiff, “the evidence is
   undisputed that” she was Foresters’ agent. First, Plaintiff is wrong. As stated in Foresters’
   MSJ, Ms. Lightbourn was neither Foresters’ captive, actual or apparent agent, and she did
   not have any authority to represent that a contestable claim was payable because, as Mr.
   Parrot testified, that determination is “a result of the [contestability] process.” [Parrot Tr. at
   57:21-25, 58:1-11, Doc. 155-5]. Plaintiff’s claim that Foresters “admitted” Ms. Lightbourn
   was its agent during this litigation is also wrong. Since Plaintiff inserted agency in this action,
   Foresters consistently denied her status as an agent under all three theories.
            Second, if the Court disagrees with Foresters, the appropriate outcome would be to
   submit the issue of agency to the jury. As this Court recognized, although the question of
   agency “can be resolved by summary judgment . . . where the evidence is capable of but one
   determination and there is no evidentiary question for the jury to resolve,” the issue of agency
   is ordinarily “one for the jury to decide.” Johnson v. Unique Vacations, Inc., No. 1:10-CV-
   24217-COOKE/MCALILEY, 2011 WL 13175537, at *2 n.4 (S.D. Fla. Nov. 30, 2011) (J.,
   Cooke) (granting summary judgment in favor of the defendant because there was no dispute
   that the elements necessary to establish agency were not satisfied). Should the Court find that
   there is an issue of fact regarding Ms. Lightbourn’s status as an agent, Plaintiff fails to explain
   why this Court should deviate from the usual procedure of submitting this question to the
   jury.4


            3
             Plaintiff, through her 15 Motions in Limine, seeks to entirely preclude Foresters from
   introducing any evidence to refute the elements of her fraudulent inducement claim and put
   on a defense. Although each Motion is meritless for the reasons stated, the Motions,
   collectively, are an inappropriate effort to completely prevent Foresters from defending
   against her allegations. Further, Foresters has a pending Motion to Dismiss [Doc. 152], and
   therefore the time to file a responsive pleading has been tolled, which makes Plaintiff’s
   contention that the evidence he seeks to preclude is irrelevant all the more inappropriate.
           4
             Not only is Plaintiff’s contention that “Foresters refused to re-designate the VP of its
   claims department for a second deposition” inappropriate and irrelevant, but is, once again,
   a distortion of reality. As Judge Goodman explained to Plaintiff’s counsel at length at a
   discovery hearing, Plaintiff “cannot tell us who the corporate rep should be,” and in any
   event, Mr. Sullivan was “not even an underwriter,” and therefore would not have knowledge
   on the designated topics. [Hearing Tr. at 23:4-6, Doc. 167].
                                                   7
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 8 of 45




    PLAINTIFF’S SECOND MOTION IN LIMINE TO PRECLUDE ANY ARGUMENT
              OR EVIDENCE REGARDING VICARIOUS LIABILITY

          Foresters has repeatedly tried to inject the issue of vicarious liability in this case. (E.G.,
   D.E. 156, at 14). There is no vicarious liability count. In Count III (Fraud in the Inducement),
   Vinas raises a direct liability claim against Foresters. Foresters’ liability is not vicarious,
   derivative, or merely technical. Foresters’ attempts to dilute its direct responsibility for the
   misrepresentations have no place at trial. Any argument or evidence on vicarious liability
   would be irrelevant under Rule 401, as well as unfairly prejudicial, needlessly confusing, and
   time-consuming under Rule 403.




                                                    8
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 9 of 45




      DEFENDANT’S RESPONSE TO PLAINTIFF’S SECOND MOTION IN LIMINE
          Plaintiff argues that Foresters should not be permitted to argue that it cannot be held
   vicariously liable for Ms. Lightbourn’s alleged fraudulent misrepresentation because it is
   “irrelevant.” Plaintiff refuses to acknowledge that when she amended her pleading by
   interlineation, she introduced agency and vicarious liability into this action. Plaintiff alleges
   that “Foresters, through its sales agent [Ms.] Lightbourn, explained how the contestability
   period worked and represented that Foresters would not deny a claim or rescind the policy
   for inaccuracies in the Application so long as Mr. Vinas answered the Application questions
   truthfully, i.e., to his best knowledge and belief.” [Doc. 147 ¶36a].5 Plaintiff claims that
   “vicarious liability” is irrelevant because she seeks to hold Foresters directly liable for the
   representation. Even if Ms. Lightbourn was Foresters’ agent, which she was not, Plaintiff
   does not cite any authority supporting that Foresters can be held “directly” liable for her
   conduct.
          In any event, Plaintiff does not plead “direct liability,” and therefore cannot proceed
   on that theory. In Platypus Wear, Inc. v. Clarke Modet & Co., S.L.. 2008 WL 2557503 (S.D.
   Fla. June 23, 2008), the plaintiff asserted that one of the defendants, Clarke, was liable for a
   number of torts, and that a second defendant, Santucci “was and is an agent and/or employee
   and/or partner of Clarke.” Id. at *1. This Court noted that there was “no distinct claim for
   vicarious liability,” but “[b]y framing the pleading in such a manner,” the plaintiff was
   “proceeding on a theory of direct liability against Clarke Spain, and also on a theory of
   indirect or vicarious liability stemming from the purported principal/agent relationship
   between Clarke Spain and Santucci.” Id. (emphasis added). Similarly, Plaintiff does not
   plead a “distinct claim for vicarious liability,” and in a single count, improperly proceeds on
   a theory of direct liability against Foresters based on the representations in the Certificate,
   “and also on a theory of indirect or vicarious liability stemming from the purported
   principal/agent relationship between” Foresters and Ms. Lightbourn. Plaintiff’s contention
   that vicarious liability is not an issue in this case is belied by Florida law and her allegations.
   Plaintiff fails to provide any legitimate basis to preclude Foresters from arguing that it cannot
   be held vicariously liable for Ms. Lightbourn’s alleged conduct.

          5
            Foresters disputes Plaintiff’s contention that “truthfully” is the equivalent of “knowledge
   and belief.”
                                                    9
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 10 of 45




      PLAINTIFF’S THIRD MOTION IN LIMINE TO PRECLUDE ANY ARGUMENT
       OR EVIDENCE THAT JAZMIN LIGHTBOURN ALSO SOLD POLICIES FOR
                             OTHER INSURERS

           Foresters has also argued that Jazmin Lightbourn is an independent broker, for whose
    representations it can bear no responsibility. (D.E. 156, at 15). The undisputed evidence in
    this case, directly from Foresters’ corporate representatives, is that its “independent agents”
    are actually authorized to do precisely what Ms. Lightbourn did: explain the incontestability
    provision and tell the Vinases that the standard for accuracy in the complaint was Mr. Vinas’
    best knowledge and belief. (D.E. 158, at ¶¶ 2-3, 17).
           In light of this evidence, it is irrelevant whether she also sold policies for other
    insurance companies, as Ms. Lightbourn can be an agent for both Foresters and its prospective
    customers. Almerico v. RLI Ins. Co., 716 So. 2d 774, 776–77 (Fla. 1998) (explaining that it
    is “well settled that the insurance broker may act in the dual capacity of broker for the insured
    and agent of the insurer. . . . Accordingly, a determination that a particular agent is
    an insurance broker may not conclude the issue of agency relationship.”). The evidence and
    argument risks creating jury confusion, needless wasting of time, and unfair prejudice by
    obscuring the true relationship between Foresters and Ms. Lightbourn. The Court should
    exclude the evidence under Rule 401 and Rule 403.




                                                   10
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 11 of 45




        DEFENDANT’S RESPONSE TO PLAINTIFF’S THIRD MOTION IN LIMINE
           Plaintiff’s argument that Foresters should be precluded from arguing that Ms.
    Lightbourn sold policies for other insurance companies lacks merit. Under Florida law, an
    insurance company can be held vicariously liable for the conduct of its captive agents, but not
    for independent brokers, absent actual or apparent agency. Essex Ins. Co. v. Zota, 958 So.
    2d 1036, 1046 (Fla. 2008). One of the hallmarks of a “captive agent” is that they are
    “contractually obligated to work for and solicit insurance on behalf of a specific insurance
    company,” unlike brokers, who are “not bound by contract to work for or solicit insurance
    for any particular insurance company.” Amstar Ins. Co. v. Cadet, 862 So. 2d 736, 739 (Fla.
    5th DCA 2003); see also Kemberling v. MetLife Life & Annuity Co., 368 F. App’x 63, 67-68
    (11th Cir.2010) (affirming the district court’s ruling that there was insufficient evidence of an
    agency relationship because the purported agent “was not bound by contract to work for or
    solicit insurance for MetLife only”).      Therefore, to refute Plaintiff’s allegation that Ms.
    Lightbourn is a captive agent of Foresters, Foresters intends to present evidence supporting
    that she sold policies on behalf of several insurance companies.            Foresters’ corporate
    representative, Mr. Parrot, testified that Foresters “does not have a captive sales force, that is
    to say a sales force or salaried agents paid for by the company.” [Parrot Tr. at 15-17]. Unlike
    a captive sales force, they “can write business for many companies.” [Id. at 17-21].
           Plaintiff’s citation to Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998) does not
    support her Motion position. Almerico simply recognizes that there are three ways to
    establish agency: statutory (ie, a captive agent) actual and apparent. As set forth in detail in
    Foresters’ Motion for Summary Judgment, the undisputed evidence shows that Ms.
    Lightbourn does not satisfy the criteria for any of these agency relationships. Further,
    contrary to Plaintiff’s contention, Ms. Lightbourn did not have any authority to make
    representations about whether a contestable claim was payable because, as Mr. Parrot
    testified, that determination is “a result of the [contestability] process.” [Parrot Tr. at 57:21-
    25, 58:1-11]. However, if the Court finds that there is an issue of fact regarding agency,
    Plaintiff does not provide any legitimate basis for precluding Foresters from refuting that Ms.
    Lightbourn was a statutory agent through evidence that she sold policies for multiple carriers.




                                                   11
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 12 of 45




    PLAINTIFF’S FOURTH MOTION IN LIMINE TO PRECLUDE ANY ARGUMENT
    OR EVIDENCE THAT JAZMIN LIGHTBOURN RECEIVED APPLICATIONS OR
                OTHER MATERIALS FROM NMO/BGA SOURCES

           Foresters sold the product through Lightbourn. The application has her signature on
    it. (D.E. 155-1, at 8; 155-6, at 2). Foresters collected the policy premiums on the policy its
    sales agent sold for 23 months. As Foresters admits, no one else ever talked to the Vinases.
    (D.E. 155, at ¶ 22). If Jazmin Lightbourn was not “Foresters” for the Vinases, who was?
           Nevertheless, Foresters has argued that it can disclaim responsibility for Ms.
    Lightbourn because she received materials from other sources, rather than directly from
    Foresters. (D.E. 156, at 16). Foresters, however, offers no legal authority to suggest that this
    makes any difference, especially since its corporate representative testified that she was
    authorized to make the representations that she made! (D.E. 158-3, at ¶¶ 2-3, 17).
           There is no dispute that here, at the very least, the death benefits claim forms that Ms.
    Lightbourn gave Vinas came directly from Foresters, which was not unusual. (D.E. 158-4, at
    p. 41 l. 25 – p. 44, l. 20). Moreover, Foresters has, to put it charitably, broadly interpreted
    Mr. Parrott’s deposition, which states only that “information and training materials” were
    provided to National Marketing Office (“NMO”) and Brokerage General Agency (“BGA”)
    sources. (D.E. 158-3, at p. 48, lines 11-21). The record cannot support its characterizations.
    The reason it cannot do better is that any suggestion that Jazmin Lightbourn did not have the
    right, authority, power, and agency to sell Foresters’ products is without factual support and
    insulting to this Court and to the judicial process. It is absurd to use this issue to try to directly
    contradict its CR, who explicitly stated Ms. Lightbourn was authorized to explain that “best
    knowledge and belief” means what it says. No one has ever suggested Ms. Lightbourn ever
    did anything unauthorized or wrong!
           It would serve no purpose, and unfairly prejudice Vinas, to allow Foresters to suggest
    some other party was legally responsible for the manner in which Foresters sells and
    administers its products. The Court should exclude any evidence pertaining to as irrelevant
    under Rule 401 and as confusing, time-wasting, and prejudicial under Rule 403.




                                                     12
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 13 of 45




    DEFENDANT’S RESPONSE TO PLAINTIFF’S FOURTH MOTION IN LIMINE
           Plaintiff argues, without basis, that Foresters should be precluded from showing that
    it provided company materials to third party National Marketing Offices (“NMOs”) and
    Brokerage General Agencies (“BGAs”), who retained Ms. Lightbourn as a producer for
    various carriers. This evidence supports that Ms. Lightbourn was not Foresters’ captive agent,
    and that Foresters therefore cannot be held liable for her alleged conduct.
           Under Florida law, an insurance company can be held vicariously liable for the
    conduct of its captive agents, but not for independent brokers, absent apparent or actual
    agency. Essex Ins. Co. v. Zota, 958 So. 2d 1036, 1046 (Fla. 2008). The fact that Ms.
    Lightbourn was not employed by Foresters, but by NMOs and BGAs, and that Foresters did
    not provide company materials to Ms. Lightbourn, supports that she was not Foresters’ agent.
    First, Fla. Stat. § 626.342 provides that an insurance broker may become a statutory agent if
    the insurance company “furnishes to the broker company materials, such as blank forms,
    applications, stationary,” “unless the insured knew or was put on notice of” the limitations
    placed on the broker’s authority. Amstar Ins. Co. v. Cadet, 862 So. 2d 736, 740-41 (Fla. 5th
    DCA 2003). Therefore, the fact that Foresters provided its materials to third parties, and not
    to Ms. Lightbourn, refutes any argument that she became a statutory agent. This also
    supports that Ms. Lightbourn was not Foresters’ actual or apparent agent, as it underscores
    the separation between Foresters and Ms. Lightbourn, Foresters lack of control over Ms.
    Lightbourn, and Foresters lack of involvement in her training. Further, contrary to Plaintiff’s
    contention, Ms. Lightbourn did not have any authority to make representations about
    whether a contestable claim was payable because, as Mr. Parrot testified, that determination
    is “a result of the [contestability] process.” [Parrot Tr. at 57:21-25, 58:1-11]. However, if the
    Court finds that there is an issue of fact regarding agency, Plaintiff does not provide any
    legitimate basis for precluding Foresters from refuting that Ms. Lightbourn was a statutory
    agent by showing that it only dealt with NMOs and BGAs, who interacted with Ms.
    Lightbourn.




                                                   13
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 14 of 45




      PLAINTIFF’S FIFTH MOTION IN LIMINE TO PRECLUDE THE DEFENDANT
          FROM OFFERING ANY TESTIMONY, ARGUMENT OR EVIDENCE
         SUGGESTING THAT MR. VINAS DID NOT ANSWER APPLICATION
              QUESTIONS TO HIS BEST KNOWLEDGE AND BELIEF.

           Now that Foresters has paid the policy benefit and thereby confessed judgment to
    Count I (Breach of Contract), the sole liability issue remaining in this case is under Fraud in
    the Inducement, Count III. This count involves Foresters’ misrepresentations that occurred
    before the life insurance contract was even formed. The Court should exclude all accusations,
    evidence or argument by Foresters raising its initial (and wrong) breach of contract defense
    (from Count I) that Mr. Vinas did not provide his best knowledge and belief (“BK&B”) during
    the application process. Mr. Vinas’ BK&B is totally irrelevant under Rule 401, because it
    does not tend to make any fact “of consequence in determining the [Fraud in the Inducement]
    action . . . more or less probable than it would be without the evidence.” Fed. R. Evid. 401.
    It is therefore inadmissible. Fed. R. Evid. 402.
           Moreover, admitting evidence to show Mr. Vinas’ BK&B will confuse the jury as to
    whose “representations” it is evaluating in the present fraud case. Here, it is Foresters, not
    Mr. Vinas, whose conduct is on trial, and admitting evidence of Mr. Vinas’ best knowledge
    and belief would confuse the jury and/or invite them to misuse the evidence. See United
    States v. McCall, 649 Fed. Appx. 945, 947 (11th Cir. 2016) (affirming exclusion of recording
    alleging misconduct by sheriff where “The Sheriff’s conduct was not at issue in this case” and
    the recording was also improper character evidence). The result could only be unfair prejudice
    under Rule 403, limiting instructions to the jury notwithstanding. Green v. Croft, 347 F.
    Supp. 3d 1156, 1161–62 (S.D. Fla. 2018) (explaining, in excessive force case, that it would be
    “almost impossible” for jury to go through “mental gymnastics” required to use prior
    convictions stemming from encounter for Rule 609 impeachment purposes only and not for
    any improper purposes).




                                                  14
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 15 of 45




        DEFENDANT’S RESPONSE TO PLAINTIFF’S FIFTH MOTION IN LIMINE
            Plaintiff asks the Court to preclude Foresters from refuting that its alleged fraudulent
    misrepresentation is false and that it had fraudulent intent.6 Plaintiff alleges that Foresters’
    fraudulently represented that it “would pay benefits under the Policy as long as Mr. Vinas
    answered the Application questions to his best knowledge and belief.” [Doc. 147 ¶36]. Under
    Florida law, the elements of fraudulent inducement are: “(1) a false statement of material
    fact; (2) the statement maker’s knowledge that the representation is false; (3) intent that the
    representation induces another’s reliance; and (4) consequent injury to the party acting in
    reliance.” PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802, 808-09 (11th
    Cir. 2010). To refute that the alleged representation was false and that it had fraudulent intent,
    Foresters intends to show that it denied Plaintiff’s claim after it determined that Mr. Vinas
    knew and believed he was being followed for diabetes and secondary complications, and
    omitted this information from his application. Foresters considered, and did not intend to
    disregard, Mr. Vinas’s knowledge and belief, as Plaintiff alleges. Foresters’ decision was
    reasonable based on the information available at that time. Plaintiff did not provide a letter
    from Dr. Hershman supporting that her claim was payable until March 26, 2020, at which
    point Foresters immediately paid the Death Benefit and interest. This evidence is necessary
    to refute the elements of Plaintiff’s claim.
            Plaintiff’s contention that Mr. Vinas’s “representations” are “not on trial” is simply
    wrong. Plaintiff claims that Foresters had no intention of evaluating Mr. Vinas’s application
    representations when it issued the Certificate. Therefore, Mr. Vinas’s representations, and
    Foresters’ investigation of those representations, is directly at issue. Plaintiff’s cases are not
    applicable, as none involve a fraudulent inducement claim based on the alleged failure to
    investigate the veracity of representations. United States v. McCall, 649 F. App’x 945 (11th
    Cir. 2016) involved a civil conspiracy claim, and the court excluded evidence that related only
    to credibility. Here, Foresters’ investigation of Mr. Vinas’s representations bears directly on
    the elements of Plaintiff’s claim. Green v. Croft, 347 F. Supp. 3d 1156 (S.D. Fla. 2018) is an
    excessive force case in which the court excluded evidence of a prior conviction, as it was
    required to do under Fed. R. Evid. 410 and 803(22).

            6
                The issue of whether Foresters’ payment constitutes a confession of judgment is
    moot.
                                                   15
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 16 of 45




    PLAINTIFF’S SIXTH MOTION IN LIMINE TO PRECLUDE ANY REFERENCE OR
       SUGGESTION TO THE FACT THAT MR. VINAS DID OR DID NOT HAVE
       DIABETES OR OTHER REFERENCES TO DR. HERSHMAN’S RECORDS.

           Count I (Breach of Contract) is finished as to liability. As far as Count III (Fraud in
    the Inducement) is concerned, Foresters’ excuse for nonpayment is irrelevant. Foresters’
    justification for breaching the contract was its claim of allegedly undisclosed diabetes.
    Whether Mr. Vinas completed the application to his best knowledge and belief is no longer
    an issue. Evidence relating to Mr. Vinas’ medical condition, including records from Dr.
    Hershman (including laboratory results and billing codes) does not tend to make any fact “of
    consequence in determining the action [relating to Foresters’ fraud in the inducement] . . .
    more or less probable than it would be without the evidence.” Fed. R. Evid. 401. Therefore,
    the Court should exclude all evidence and argument that Mr. Vinas did or did not actually
    carry a diagnosis of diabetes mellitus. Fed. R. Evid. 402.
           Even if there were some relevance to the evidence of Mr. Vinas’ medical condition
    (there is not), exclusion nevertheless should follow under Rule 403. It is enough to ask a jury
    to evaluate Foresters’ knowledge and intent, without interjecting evidence that Mr. Vinas had
    diabetes, or should have been diagnosed with diabetes, that could be used for untold numbers
    of improper reasons including distracting from Foresters’ intent, insinuating a sinister motive
    on the part of Mr. Vinas, etc. In short, the jury’s focus should be on Foresters’ actions and
    intent, not Mr. Vinas’. Admitting this distracting medical condition evidence would create a
    risk of confusing the issues and misleading the jury, additional grounds for exclusion under
    Rule 403.




                                                  16
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 17 of 45




        DEFENDANT’S RESPONSE TO PLAINTIFF’S SIXTH MOTION IN LIMINE
           In her Sixth Motion, Plaintiff, once again, asks the Court to preclude Foresters from
    refuting that the alleged fraudulent misrepresentation is false and that Foresters had the had
    fraudulent intent to induce Mr. Vinas to purchase the Certificate. Plaintiff alleges that
    Foresters’ fraudulently induced Mr. Vinas to purchase the Certificate because it falsely
    represented that it “would pay benefits under the Policy as long as Mr. Vinas answered the
    Application questions to his best knowledge and belief.” [Doc. 147 ¶36]. Under Florida law,
    the elements of fraudulent inducement are: “(1) a false statement of material fact; (2) the
    statement maker’s knowledge that the representation is false; (3) intent that the representation
    induces another’s reliance; and (4) consequent injury to the party acting in reliance.” PVC
    Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802, 808-09 (11th Cir. 2010).
    Foresters intends to refute these elements by showing that its alleged misrepresentation was
    not false, and that it intended to, and did, consider Mr. Vinas’s “knowledge and belief”
    regarding diabetes when it sold the Certificate. Foresters denied Plaintiff’s claim after it
    determined that Mr. Vinas knew and believed he was being followed for diabetes and
    secondary complications based on information in Mr. Vinas’s medical records showing that
    he tested positive for diabetes in 2010 and was monitored for diabetes, and Mr. Vinas omitted
    this information from his application. Based on the information available to Foresters at the
    time of the denial, namely, the very medical records Plaintiff seeks to exclude, the decision to
    deny Plaintiff’s claim was reasonable. Plaintiff did not provide a letter from Dr. Hershman
    supporting that her claim was payable until March 26, 2020. This evidence is critical to refute
    the elements of Plaintiff’s claim.
           Plaintiff’s claim that the Court should exclude evidence bearing on Mr. Vinas’s
    medical history because it could lead the jury to believe that Mr. Vinas had a “sinister motive”
    is nonsensical.    In any event, the probative value of the Mr. Vinas’s medical records
    substantially outweighs this purported “danger,” and therefore exclusion under Rule 403 is
    not appropriate.




                                                  17
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 18 of 45




    PLAINTIFF’S SEVENTH MOTION IN LIMINE TO PRECLUDE ANY ARGUMENT
       THAT FORESTERS “REASONABLY BELIEVED” MR. VINAS HAD BEEN
                       DIAGNOSED WITH DIABETES.

           Foresters has argued that it “reasonably believed” that Mr. Vinas had been diagnosed
    with diabetes. (D.E. 156, at 12). Again, the reasons that Foresters refused to pay the benefit
    initially, or changed its mind later, are not relevant. The issues in this case all pertain to
    Foresters’ representations before the contract was formed, not its failure to pay benefits when
    due or its claims handling practices.
           Foresters’ purported excuse for breaching the contract is also susceptible to misuse as
    evidence of good character. The Court should exclude the evidence as irrelevant under Rule
    401 and as confusing, time-consuming, and unfairly prejudicial under Rule 403.




                                                  18
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 19 of 45




      DEFENDANT’S RESPONSE TO PLAINTIFF’S SEVENTH MOTION IN LIMINE
           In Plaintiff’s Seventh Motion, she attempts to preclude Foresters from refuting her
    allegations by precluding evidence of its “reasonable belief” regarding Mr. Vinas’s knowledge
    and beliefs about his representations on the Application. Plaintiff alleges that Foresters’
    fraudulently induced Mr. Vinas to purchase the Certificate because it falsely represented that
    it “would pay benefits under the Policy as long as Mr. Vinas answered the Application
    questions to his best knowledge and belief.” [Doc. 147 ¶36]. Under Florida law, the elements
    of fraudulent inducement are: “(1) a false statement of material fact; (2) the statement maker’s
    knowledge that the representation is false; (3) intent that the representation induces another’s
    reliance; and (4) consequent injury to the party acting in reliance.” PVC Windoors, Inc. v.
    Babbitbay Beach Const., N.V., 598 F.3d 802, 808-09 (11th Cir. 2010). In the Complaint,
    Plaintiff alleges that his “circumstantial evidence of the falsity” of this alleged representation
    is that “Foresters never even made inquiry into Rigoberto Vinas’ best knowledge and belief.”
    [Doc. 147 ¶39]. Thus, Plaintiff’s claim that evidence supporting that Foresters did consider
    Mr. Vinas’s “best knowledge and belief,” and reasonably believed that he made a material
    misrepresentation on his application, is disingenuous at best.            Foresters’ good faith
    investigation refutes the scienter element of Plaintiff’s claim. See United States v. Guaracino,
    No. 10-60194-CR, 2011 WL 666102, *1 (S.D. Fla. Feb. 14, 2011) (denying a motion to
    exclude evidence of good faith intent because “[t]his evidence would serve to negate a specific
    intent to defraud and establish a good faith defense.”).
           Plaintiff’ claims, without any support, that evidence of Foresters’ good faith
    investigation and reasonable belief that Mr. Vinas omitted material information from his
    insurance application is “susceptible to misuse as evidence of good character,” and therefore
    “unfairly prejudicial.” Plaintiff fails to recognize that evidence of Foresters’ good faith is not
    evidence of good character, any more than Plaintiff’s purported evidence of fraudulent intent
    is evidence of bad character. This evidence is simply necessary to negate the elements of her
    claim. The probative value of this evidence, disproving scienter, substantially outweighs any
    alleged danger of unfair prejudice, and should not be excluded under Rule 403.




                                                   19
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 20 of 45




     PLAINTIFF’S EIGHTH MOTION IN LIMINE TO PRECLUDE ANY REFERENCE
                      TO DR. HERSHMAN’S 2020 LETTER.

           The Court should also preclude Foresters from referring to Dr. Hershman’s 2020 letter
    at all. (D.E. 155-16). The reasons that Foresters refused to pay the benefit initially, or changed
    its mind later, are not relevant; the issues for the jury to resolve relate to events that occurred
    before the contract was formed. More importantly, Dr. Hershman’s 2020 letter would distract
    the jury by putting the focus on Foresters’ claims handling practices, which are not relevant
    because this is not a bad faith claim. The Court should exclude the evidence under Rules 401
    and 403.




                                                    20
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 21 of 45




        DEFENDANT’S RESPONSE TO PLAINTIFF’S EIGTH MOTION IN LIMINE
           In Plaintiff’s Eighth Motion, she seeks to preclude any mention of Dr. Hershman’s
    March 26, 2020 letter. This evidence is necessary, as it negates the elements of Plaintiff’s
    fraudulent inducement claim. Under Florida law, the elements of fraudulent inducement are:
    “(1) a false statement of material fact; (2) the statement maker’s knowledge that the
    representation is false; (3) intent that the representation induces another’s reliance; and (4)
    consequent injury to the party acting in reliance.” PVC Windoors, Inc. v. Babbitbay Beach
    Const., N.V., 598 F.3d 802, 808-09 (11th Cir. 2010).           Plaintiff alleges that Foresters’
    fraudulently induced Mr. Vinas to purchase the Certificate because it falsely represented that
    it “would pay benefits under the Policy as long as Mr. Vinas answered the Application
    questions to his best knowledge and belief,” but denied Plaintiff’s claim without consideration
    of Mr. Vinas’s best knowledge and belief and “ignored evidence in its own claim file.” [Doc.
    147 ¶¶36, 39-40]. Foresters intends to refute that the alleged representation was false, and
    that it had fraudulent intent, by showing that it reasonably believed that Mr. Vinas made a
    material omission in his application based on Dr. Hershman’s medical records. As soon as
    Dr. Hershman provided a letter stating that Mr. Vinas was not told he had diabetes on March
    26, 2020, Foresters immediately paid Plaintiff’s claim. The absence of this letter in the claim
    file when Foresters denied Plaintiff’s claim, and the fact that Foresters paid Plaintiff’s claim
    as soon as it received this letter, refutes the scienter element of Plaintiff’s claim. Plaintiff’s
    argument that this letter serves as evidence of “Foresters’ claims handling practices,” which
    is not relevant, is simply wrong. Plaintiff intends to rely on our lack of an investigation to
    support her claim, but somehow claims that Foresters’ evidence that it conducted a good faith
    investigation is an inconsistent, nonsensical position, and simply wrong.




                                                   21
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 22 of 45




     PLAINTIFF’S NINTH MOTION IN LIMINE TO PRECLUDE ANY REFERENCE
                    TO FORESTERS’ NET WORTH FOR THE
                 PURPOSE OF REDUCING PUNITIVE DAMAGES.

           Florida law offers Foresters the chance to interpose its financial health as a defense to
    the uncapped punitive damages it faces. Rinaldi v. Aaron, 314 So. 2d 762, 765 (Fla. 1975).
    Foresters, however, has not disclosed any fact or expert witnesses on this issue, and the
    deadlines to do so are long past. (D.E. 92). For Foresters’ failure to make timely disclosure
    as the Scheduling Order required, Rule 16(f)(1)(C) authorizes the Court to prohibit Foresters
    from “introducing designated matters in evidence.”          Fed. R. Civ. P. 37(b)(2)(A)(ii).
    Additionally, by failing to supplement the Rule 26 disclosures to indicate any such witness,
    the evidence is excludable under Rule 37(c)(1)(C). The Court should preclude Foresters from
    introducing any previously undisclosed evidence of its net worth, or any similar evidence for
    the purpose or reducing or tending to show that a lesser award of punitive damages is
    warranted.




                                                  22
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 23 of 45




           DEFENDANT’S RESPONSE TO PLAINTIFF’S NINTH MOTION IN LIMINE
           Plaintiff argues that Foresters should not be permitted to present testimony regarding
    its financial health as a defense to her request for punitive damages because Foresters has not
    disclosed a witness on this issue, and designating a witness at this time would be “untimely.”
    Plaintiff fails to recognize that Foresters has a pending Motion to Dismiss [Doc. 152], and
    therefore has not filed an answer or asserted any affirmative defenses. “Under the Federal
    Rules, a timely filed motion to dismiss tolls the responsive pleading deadline until the motion
    is decided.” Mullane v. Barclays Bank De., Inc., No. 1:18-CV-20596-MORENO/LOUS,
    2018 WL 1835933, *1 (S.D. Fla. April 9, 2018). “Specifically, Rule 12(a)(4) states that ‘if the
    court denies the motion or postpones its disposition until trial, the responsive pleading must
    be served within 14 days after notice of the court’s action.’” Id. (quoting Fed. R. Civ. P.
    12(a)(4)(A). In the event the Court denies Foresters’ Motion to Dismiss, it will timely file a
    responsive pleading, assert affirmative defenses, and amend its Rule 26 disclosures. Rule 26
    provides that “a party must make its initial disclosures based on the information then
    reasonably available to it.” Fed. R. Civ. P. 26(a)(1)(E). Rule 26 further provides that in
    addition to these initial disclosures, “a party must provide the name, and if not previously
    provided, the address and telephone number of each witnesses.” Fed. R. Civ. P. 26(a)(3).
    Clearly, there are circumstances, such as the instant case, where a party may include a witness
    not identified on the initial disclosures, or pretrial disclosures would be unnecessary. Further,
    the Rules permit a party to supplement its disclosures “in a timely manner if the party learns
    that in some material respect the disclosure or response is incomplete or incorrect, and if the
    additional or corrective information has not otherwise been made known to the other parties
    during the discovery process or in writing.” Fed. R. Civ. P. 26(e).
           Notably, Plaintiff first added her meritless request for punitive damages when she filed
    the Second Amended Complaint on August 4, 2020. [Doc. 94]. To date, Plaintiff has failed
    to amend her initial disclosures to provide a damage calculation. Plaintiff’s suggestion that
    Foresters, whose answer is not yet due, should be precluded from amending its disclosures to
    identify a witness to rebut a still unknown damage calculation is an inappropriate and
    disingenuous double standard, which the law does not endorse.




                                                   23
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 24 of 45




     PLAINTIFF’S TENTH MOTION IN LIMINE TO PRECLUDE ANY REFERENCE
                        TO DISCOVERY IN THIS CASE

           Foresters has repeatedly insinuated that it was “stonewalled at every turn” in discovery
    and would have paid Vinas’ claim if only Mrs. Vinas had provided a doctor’s note sooner.
    (E.g., D.E. 155, at ¶ 34). Vinas’ responses to discovery are irrelevant to this issue, because
    they do not relate to any element of Count III (Fraud in the Inducement). The Court should
    preclude Foresters from making this argument to the jury under Rule 401 and Rule 403.
    Rheinfrank v. Abbott Labs., Inc., 1:13-CV-144, 2015 WL 5258858, at *7 (S.D. Ohio Sept. 10,
    2015) (holding that “evidence or argument about discovery disputes would be irrelevant and
    unfairly prejudicial”).




                                                  24
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 25 of 45




           DEFENDANT’S RESPONSE TO PLAINTIFF’S TENTH MOTION IN LIMINE
           Plaintiff broadly asks this Court to preclude Foresters from making “any reference to
    discovery in this case” as irrelevant. Plaintiff alleges that Foresters’ fraudulently induced Mr.
    Vinas to purchase the Certificate because it falsely represented that it “would pay benefits
    under the Policy as long as Mr. Vinas answered the Application questions to his best
    knowledge and belief,” but denied Plaintiff’s claim without consideration of Mr. Vinas’s best
    knowledge and belief and “ignored evidence in its own claim file.” [Doc. 147 ¶¶36, 39-40].
    As such, the evidence in Foresters’ file at the time it denied the claim, and the date on which
    it obtained evidence supporting that Plaintiff’s claim was payable, are necessary to refute
    Plaintiff’s allegation.
           Under Florida law, the elements of fraudulent inducement are: “(1) a false statement
    of material fact; (2) the statement maker’s knowledge that the representation is false; (3) intent
    that the representation induces another’s reliance; and (4) consequent injury to the party
    acting in reliance.” PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802,
    808-09 (11th Cir. 2010). Foresters intends to show that its alleged misrepresentation was not
    false, and that it lacked fraudulent intent, because based on the evidence in its file, it
    reasonably believed that Mr. Vinas omitted material information on his application. The fact
    that Foresters did not receive a letter from Dr. Hershman supporting that Plaintiff’s claim was
    payable until March 26, 2020, refutes Plaintiff’s allegation that Foresters fraudulently denied
    Plaintiff’s claim. Plaintiff’s reliance on Rheinfrank v. Abbott Labs., Inc., 1:13-CV-144, 2015
    WL 5258858, at *7 (S.D. Ohio Sept. 10, 2015), a non-binding unpublished opinion issued by
    the Southern District of Ohio, is misplaced. There, the court excluded evidence of a discovery
    dispute because it was irrelevant to the pending claims. Here, however, the date Foresters
    obtained evidence supporting Plaintiff’s claim, and its subsequent payment, is essential to
    refute the elements of Plaintiff’s claim.




                                                   25
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 26 of 45




      PLAINTIFF’S ELEVENTH MOTION IN LIMINE TO PRECLUDE ARGUMENT,
       TESTIMONY OR OTHER EVIDENCE RELATING TO A CLAIM THAT MS.
          VINAS DOES NOT HAVE STANDING TO PURSUE THIS ACTION.

           Foresters has contended several times throughout this litigation, with no precedential
    support, that Mrs. Vinas does not have standing to prosecute this action on behalf of her
    deceased husband, even though she is the named beneficiary to his policy. Vinas has pointed
    out the absurdity and cruelty of this result, which would leave the cause of action to die with
    the insured and create a perverse incentive to commit fraud. The Court’s Orders granting
    leave to amend her complaint suggests Foresters’ legal arguments have not persuaded the
    Court, although the Court has not ruled on the matter in a dispositive motion yet. In any
    event, the issue of whether a widow has standing to sue her husband’s life insurance provider
    for fraud is for the Court, not the jury, to decide. Moreover, the elements of fraud in the
    inducement are satisfied with respect to Vinas as well as her husband, because Foresters made
    misrepresentations to them both, which both relied on in the course of making a joint marital
    decision. Therefore, any argument or evidence challenging standing is irrelevant under Rule
    401. Rule 403 also applies, because arguing that Mrs. Vinas has no legal right to seek recovery
    would be highly prejudicial and confusing to the Plaintiff under Rule 403.




                                                  26
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 27 of 45




     DEFENDANT’S RESPONSE TO PLAINTIFF’S ELEVENTH MOTION IN LIMINE
            Without basis, or citation to any authority, Plaintiff asks the Court to preclude
    Foresters from demonstrating that she lacks standing. Plaintiff’s contention that standing is
    “irrelevant” is simply wrong. “The Constitution limits the power of the judiciary to ‘Cases’
    and ‘Controversies.’ To satisfy the case-or-controversy requirement, a plaintiff must have
    standing to sue.” Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1083 (11th Cir.
    2019). As such, standing is a “threshold jurisdictional requirement,” and Plaintiff bears the
    burden of proving that she has standing in order to pursue her claim. Muransky v. Godiva
    Chocolatier, Inc., 979 F.3d 917, 923 (11th Cir. 2020); see also Lujan v. Defenders of Wildlife,
    504 U.S. 555, 561 (1992). Therefore, it is clearly “relevant” to this action.
            Contrary to Plaintiff’s contention, a third-party beneficiary lacks standing to pursue a
    fraudulent inducement claim. See Prater v. Wackenhut Corr. Corp., 44 F. App’x 654, No. 01-
    50792, 2002 WL 1397163, *1 (5th Cir. 2002) (“[w]hile an intended third party beneficiary may
    have standing to sue for breach of contract,” he does not have “standing to assert a fraud claim
    when no misrepresentation as made to him or made with intention of reaching him and when he
    did not act upon any representation.”); Branch Banking & Trust Co. v. Appraisalfirst, Inc., No. 10-
    21141-CIV-GOLD/MCALILEY, 2010 WL 11596299, at *4 (S.D. Fla July 7, 2010); Erwin v. Tx
    Health Choice, L.C., 187 F. Supp. 2d 661, 667 (N.D. Tex. 2002); Maddux v. Philadelphia Life Ins.
    Co., 77 F. Supp. 2d 1123, 1132 (S.D. Cal. 1999). Plaintiff’s assertion that this result would “leave
    the cause of action to die with the insured” is a distortion of Florida law, which gives third-party
    beneficiaries standing to pursue claims for breach of contract, and bad faith, which Plaintiff is
    precluded from asserting here under Fla. Stat. § 624.155, and the estate standing to sue on behalf
    of the insured7
            Although standing is generally a question of law for the Court to resolve, in the event the
    Court determines that there are factual issues which the jury needs to be resolved in order to
    determine standing, Plaintiff fails to provide any authority supporting that Foresters should be
    precluded from introducing evidence on such facts and explaining the relevance of the issues to
    the jury.


            7
             Plaintiff’s inability to establish standing also precludes her from satisfying the elements
    of fraudulent inducement, as she could not have been fraudulently induced to purchase a Certificate
    she does not own.
                                                    27
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 28 of 45




         PLAINTIFF’S TWELFTH MOTION IN LIMINE TO PRECLUDE ANY
     REFERENCE TO ANY BAD FAITH CLAIM OR “CURE” THEREOF BY PAYING
                      DEATH BENEFITS WITH INTEREST.

           Foresters has argued repeatedly that it has “cured” its violation of Florida’s bad faith
    statute, Section 624.155, by paying the death benefits to which Vinas was entitled with interest
    from the date of his death. This purely legal argument (which is wrong because Vinas raises
    no bad faith claim) is irrelevant to the jury’s task, and inadmissible under Rules 401 and 402.
    Under Rule 403, the risk of jury confusion and unfair prejudice by any argument Foresters
    “cured” its violations or that Vinas has been “made whole” warrants exclusion.
           Moreover, although Foresters voluntarily paid the 8% interest provided for by statute,
    it has repeatedly insinuated that it should have paid only 3.92% interest under Section
    627.4615, Florida Statutes. (See, e.g., D.E. 156, at 5). The time to argue about which
    statutory interest rate applies was before Foresters confessed judgment on Count I (Breach of
    Contract). Evidence of the interest rate is irrelevant to Count III (Fraud in the Inducement)
    and could distract from the relevant issues by implying that Vinas has already received some
    unearned benefit. Under Rule 401 and Rule 403, the Court should exclude any evidence or
    argument on the issue Foresters declined to litigate: the amount of interest it “should” have
    paid to “cure” its breach of contract.




                                                  28
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 29 of 45




      DEFENDANT’S RESPONSE TO PLAINTIFF’S TWELFTH MOTION IN LIMINE
           In the Twelfth Motion, Plaintiff argues that Foresters should be precluded from
    informing the jury that it approved Plaintiff’s claim, plus 8% interest, as soon as it obtained
    evidence supporting that her claim was payable, and that Plaintiff is thereby precluded from
    pursuing a bad faith claim. Contrary to Plaintiff’s contention, this evidence directly refutes
    Plaintiff’s allegation that Foresters’ fraudulently induced Mr. Vinas to purchase the Certificate
    because it falsely represented that it “would pay benefits under the Policy as long as Mr. Vinas
    answered the Application questions to his best knowledge and belief,” but denied Plaintiff’s
    claim without consideration of Mr. Vinas’s best knowledge and belief and “ignored evidence
    in its own claim file.” [Doc. 147 ¶¶36, 39-40]. Foresters intends to show that its alleged
    misrepresentation was not false, and that it lacked fraudulent intent, because based on the
    evidence in its file, it reasonably believed that Mr. Vinas omitted material information on his
    application. Critically, Plaintiff did not provide a letter from Dr. Hershman until after she
    filed a CRN alleging that Foresters acted in bad faith. As soon as Foresters received the letter
    it paid Plaintiff’s claim, which refutes Plaintiff’s allegations of fraudulent intent.
           Additionally, the fact that Foresters cured the purported violations in the CRN is
    relevant because it shows that Plaintiff is precluded from asserting a fraudulent inducement
    claim, which is a bad faith claim in disguise. Foresters intends to show that in the Second
    Amended Complaint, Plaintiff relies on the same conduct to support her fraudulent
    inducement claim that she used to support her bad faith CRN allegations.                 Plaintiff’s
    fraudulent inducement claim is nothing more than a statutorily precluded bad faith claim in
    disguise.   Plaintiff has received all that she is entitled to with respect to the alleged
    misrepresentations.
           The fact that Foresters paid 8% interest is also entirely relevant, as the Certificate
    requires Foresters to pay interest on the death benefit for payable clams. Thus, Foresters
    needs to show that it paid the Death Benefit, plus interest, to show that it satisfied all of its
    contractual obligations as soon as it received evidence supporting Plaintiff’s claim.




                                                    29
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 30 of 45




    PLAINTIFF’S THIRTEENTH MOTION IN LIMINE TO PRECLUDE DEFENDANT
    FROM OFFERING TESTIMONY OR OTHER EVIDENCE AS TO THE PROPRIETY
    OR APPROPRIATENESS OF ANY REPRESENTATIONS MADE AT THE TIME OF
     SALE OR ANY TESTIMONY THAT IS INCONSISTENT WITH THE POSITIONS
        TAKEN BY FORESTERS’ CORPORATE REPRESENTATIVES DURING
                              DISCOVERY.

           Parties to litigation rely on the discovery process to prepare their case. It is clear under
    Federal Rules of Civil Procedure that if material is not disclosed in discovery, it cannot be
    used at trial. Fed. R. Civ. P. 37(c)(1) (“if a party fails to provide information or identify a
    witness as required by Rule 26(a) or (e), the party is not allowed to use that information or
    witness to supply evidence … at trial”); Debose v. University of South Florida Board of
    Trustees, 218 WL 8919980 at *1 (M.D. Fla. August 31, 2018); Touzot v. America Best Care
    Rental KF Corp., 2017 WL 2541225 at *2 (S.D. Fla. June 12, 2017) (noting also that “trial is
    not a game of ‘gotcha’”). Discovery would be meaningless if a party were allowed to introduce
    evidence or testimony at trial that is different from the evidence or testimony revealed during
    the discovery process. It follows that a party cannot be permitted at trial to change testimony
    from what was provided during the discovery period.
           Here, where the fraud in the inducement claim hinges on the jury’s evaluation of
    Foresters’ intent as a corporate entity, Vinas would be unduly prejudiced by any 11th-hour
    reversals of position. Allowing “Foresters” to contradict itself invites unnecessary jury
    confusion on which witness really speaks for it.




                                                   30
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 31 of 45




    DEFENDANT’S RESPONSE TO PLAINTIFF’S THIRTEENTH MOTION IN LIMINE
           In Plaintiff’s Thirteenth Motion, she appears to ask the Court to preclude Foresters
    from introducing evidence at trial that was not disclosed during discovery. First, this Motion
    is a waste of everyone’s time, as Foresters does not intend to “change testimony from what
    was provided during the discovery period,” as Plaintiff seems to fear. As ridiculous as this
    Motion is, it should be denied due to Plaintiff’s failure to specifically identify “the evidence
    sought to be excluded,” in violation of this Court’s Order [Doc. 21 at p.2]. See Burkhart v.
    R.J. Reynolds Tobacco Co., No. 3:09-cv-10727-WGY-HTS, 2014 WL 12617550, at *12
    (M.D. Fla. Apr. 30, 2014) (denying a motion in limine because the movant “does not identify
    any particular evidence or argumentation to exclude.”).




                                                  31
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 32 of 45




     PLAINTIFF’S FOURTEENTH MOTION IN LIMINE TO PRECLUDE ARGUMENT
       OR TESTIMONY OR OTHER EVIDENCE RELATING TO DOCUMENTS OR
    INFORMATION WITHHELD FROM PRODUCTION OR OTHERWISE OBJECTED
                            TO BY FORESTERS.

           Foresters must be precluded from attempting to introduce any document, testimony,
    or other evidence or reference to the areas of inquiry contained within Plaintiff’s discovery
    requests to which Defendant objected and withheld information. When it decides to use the
    material at trial, a party intentionally waives any work product protection that cloaked the
    material. Hairston v. ED Nelson Transport, No. 3:13-cv-1457, 2015 WL 12843869, at *3
    (M.D. Fla. Sept. 25, 2015); Kallas v. Carnival Corp., No. 06-cv-20115, 2008 WL 2222152, at
    *4-5 (S.D. Fla. May 27, 2008). A privilege cannot be used as both a sword and shield. Under
    the sword and shield doctrine, a party whose proofs rely on a privileged communication
    invoke the privilege as a shield. GAB Business Services, Inc. v. Syndicate 627, 809 F.2d 755,
    762 (11th Cir. 1987). The Insurance Company should be prohibited from using any defense,
    testimony, evidence, or document that relate in any way to the subject matter addressed in
    the documents not produced, whether on the basis of an asserted privilege, a claim of
    irrelevance, or because of confidentiality. Carles Const., Inc. v. Travelers Cas. & Sur. Co. of
    America, 56 F. Supp. 3d 1259, 1273 (S.D. Fla. 2014) (citing Savino v. Luciano, 92 So. 2d 817
    (Fla. 1957)).
           The corollary to the sword and shield doctrine is that if a party makes a claim of
    privilege for purposes of discovery, that party cannot then introduce, discuss, or refer to the
    privileged documents at trial. See Fed. R. Civ. P. 37(c)(1); see also International Tel. & Tel.
    Corp. v. United Tel. Co. of Florida, 66 F.R.D. 177, 185 (M.D. Fla. 1973) (“[P]rivilege was
    intended as a shield, not a sword. Consequently, a party may not insist upon the protection
    of the privilege for damaging communications while disclosing other selected
    communications because they are self-serving.”); Kallas, supra, at *5.




                                                  32
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 33 of 45




    DEFENDANT’S RESPONSE TO PLAINTIFF’S FOURTEENH MOTION IN LIMINE
           In her Fourteenth Motion, which is strikingly similar to the Thirteenth Motion,
    Plaintiff asks the Court to preclude Foresters from introducing evidence that it “withheld from
    production.” Foresters objects to the implication that it improperly withheld documents from
    production. Throughout this litigation, Foresters appropriately withheld privileged materials
    and provided a description of such documents, as it was required to do under Fed. R. Civ. P.
    26(b)(5).   Foresters also produced confidential underwriting materials pursuant to a
    Confidentiality Agreement, under which both parties agreed that the materials would not be
    used, “except by written agreement of all parties, as ordered by the Court, or as necessary for
    pursuit of the case.”    Foresters has no intention of sharing its privileged materials or
    confidential underwriting guidelines with the jury. Nevertheless, Plaintiff’s broad Motion
    should be denied due to Plaintiff’s failure to specifically identify “the evidence sought to be
    excluded,” in violation of this Court’s Order [Doc. 21 at p.2]. See Burkhart v. R.J. Reynolds
    Tobacco Co., No. 3:09-cv-10727-WGY-HTS, 2014 WL 12617550, at *12 (M.D. Fla. Apr. 30,
    2014) (denying a motion in limine because the movant “does not identify any particular
    evidence or argumentation to exclude.”).




                                                  33
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 34 of 45




           PLAINTIFF’S FIFTEENTH MOTION IN LIMINE TO PRECLUDE THE
                      TESTIMONY OF MARC S. FRAGER, M.D.

           By Dr. Frager’s own admission, his own testimony regarding the issues Foresters
    proposes to offer him on, is both speculation and beyond the area of his expertise. His
    testimony will therefore not make any issue in dispute regarding fraud more or less relevant
    and should therefore be excluded under Fla. R. Evid. 401. Furthermore, even if Foresters is
    able to find some basis for arguing Dr. Frager’s testimony should be admitted, such admission
    would be highly prejudicial, wherein the prejudice would substantially outweigh any potential
    relevance. Fed. R. Evid. 403.




                                                 34
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 35 of 45




     DEFENDANT’S RESPONSE TO PLAINTIFF’S FIFTEENTH MOTION IN LIMINE
           Plaintiff’s Fifteenth Motion is an inappropriate attempt to file a second Daubert
    motion to exclude Foresters’ expert, the deadline for which passed on February 5, 2021. As
    Foresters’ set forth in detail in its Response to Plaintiff’s Amended Motion to Preclude Dr.
    Frager, Dr. Frager is a qualified expert, whose opinions are relevant, reliable, and helpful to
    the trier of fact. Dr. Frager opines that it is standard protocol for a reasonably prudent
    physician to discuss all lab results, exam findings, and conditions that a patient is being
    followed for with that patient. Dr. Frager further opines that based on Mr. Vinas’s lab work,
    and the number of times diabetes and related complications appeared in Mr. Vinas’s medical
    records, one would reasonably determine that Mr. Vinas’s treating physician, Dr. Kenneth
    Hershman, adhered to standard protocol and discussed these conditions with Mr. Vinas. Dr.
    Frager’s opinion is relevant to Plaintiff’s fraudulent inducement claim, should it proceed to
    trial, because it refutes Plaintiff’s allegation that Foresters “fraudulently” represented that if
    the insured died during the first two years of the Certificate’s issuance, it would conduct an
    Incontestability investigation to determine whether the insured answered the questions in his
    application to his “best knowledge and belief.” Dr. Frager’s opinion establishes that during
    Foresters’ contestability investigation, it reasonably determined that Mr. Vinas must have
    known and believed that he was being followed for diabetes and secondary complications.
    Further, Dr. Frager’s opinion is reliable because it is based on Dr. Frager’s review of all of
    Mr. Vinas’s pertinent records, and his extensive experience as an endocrinology practitioner
    and professor of medicine in the areas of endocrinology and medical ethics. Contrary to
    Plaintiff’s unsupported contention that Dr. Frager’s opinion is “speculation,” it is based on
    his medical expertise to a reasonable degree of certainty.




                                                   35
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 36 of 45




     Defendant’s Motion in Limine to Preclude Plaintiff from Arguing that Ms. Lightbourn
    was Foresters’ Agent and Introducing Evidence of Ms. Lightbourn’s Alleged Statements

           Plaintiff should be precluded from arguing that Jazmin Lightbourn was Foresters’
    agent, and from introducing any evidence regarding Ms. Lightbourn’s alleged representations
    because such evidence is not relevant. As set forth in detail in Foresters’ Motion to Dismiss,
    Plaintiff failed to sufficiently allege that Ms. Lightbourn was Foresters’ agent, and should
    therefore be precluded from presenting this argument at trial. Plaintiff alleges that “prior to
    the sale of the policy, Foresters, through its sales agent Jazmin Lightbourn . . . represented
    that Foresters would not deny a claim or rescind the policy” if Mr. Vinas answered the
    Application questions to his best knowledge and belief. [Second Am. Compl. ¶36a]. This
    conclusory allegation is insufficient because Plaintiff does not plead facts from which the
    Court could infer the elements of a statutory, apparent, or actual agency relationship. Mesa
    v. Am. Express Educational Assurance Co., No. 16-CV-24447-HUCK, 2017 WL 2210271,
    at *3 (S.D. Fla. May 18, 2017) (dismissing a claim for failure to plead the existence of an
    agency relationship in more than a conclusory fashion); Rojas v. Carnival Corp., d/b/a
    Carnival Cruise Lines, 93 F. Supp. 3d 1305, 133 (S.D. Fla. 2015) (same). A plaintiff may not
    assert a theory which was not sufficiently plead at trial. See Castellanos v. Portfolio Recovery
    Associates, LLC, No. 1:17-cv-20593-UU, 2017 WL 7796303, at *2 (S.D. Fla. Oct. 31, 2017)
    (granting a motion in limine to preclude the plaintiff from “referring to, discussing, or
    introducing any evidence concerning statutory violations” that were not alleged).
           Additionally, as set forth in detail in Foresters’ Motion for Summary Judgment, the
    undisputed evidence demonstrates that Ms. Lightbourn was not Foresters’ agent, and
    therefore evidence of agency is not relevant. Douglas Parrot, Foresters’ Chief Underwriting
    Officer, testified that Foresters’ “entire company is independent producers, independent
    advisors.” [Parrot Tr. at 39:14-15, Doc. 127-5]. Foresters “does not have a captive sales force,
    that is to say a sales force or salaried agents paid for by the company.” [Id. at 15-17]. Unlike
    a captive sales force who would only be able to write business for Foresters, Foresters’
    “distribution can write business for many companies.” [Id. at 17-21]; see also Kemberling v.
    MetLife Life & Annuity Co., 368 F. App’x 63, 67-68 (11th Cir.2010) (finding insufficient
    evidence of an agency relationship because the purported agent “was not bound by contract
    to work for or solicit insurance for MetLife only”).

                                                  36
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 37 of 45




      PLAINTIFF’S RESPONSE TO MOTION IN LIMINE TO PRECLUDE PLAINTIFF
     FROM ARGUING THAT JAZMIN LIGHTBOURN WAS FORESTERS’ AGENT …

           Foresters’ arguments are not a motion in limine at all, but is rather, an untimely
    dispositive motion. The motion should be denied on that basis. Castillo v. Cessna Aircraft
    Co., 08-21850-CIV, 2010 WL 11505792, at *1 (S.D. Fla. July 26, 2010). At this motion in
    limine stage, Foresters duplicates the arguments made in its motion to dismiss (D.E. 152, at
    16-17) totally ignoring the undisputed evidence that Jazmin Lightbourn’s statements were
    authorized and made as Foresters’ sales agent. (D.E. 173, at 6-12). While in that capacity,
    the evidence is undisputed that Foresters, through Lightbourn, made the misrepresentation at
    issue with Foresters’ authorization, its application and its blessing. (Parrott Depo, D.E. 172-
    3, at p. 67, lines 11-18). Foresters’ reliance on alleged pleading deficiencies at this stage of
    litigation truly reflects the lack of merit in Foresters’ argument. Even addressing that
    argument, under federal pleading standards, Vinas’ pleading of Lightbourn as Foresters’
    “sales agent” under the facts alleged was more than sufficient in order to satisfy notice-
    pleading requirements.” Platypus Wear, Inc. v. Clarke Modet & Co., S.L., 06-20976-CIV,
    2008 WL 2557503, at *2 (S.D. Fla. June 23, 2008), adopted in relevant part, 06-20976-CIV,
    2008 WL 2761300 (S.D. Fla. July 15, 2008). Further, given the undisputed evidence of
    Lightbourn’s sales agent status, Foresters has no basis to claim it lacks “fair notice” of the
    allegations against it. Colonial Penn Ins. Co. v. Value Rent-A-Car Inc., 814 F. Supp. 1084,
    1092–93 (S.D. Fla. 1992). See also cases at (D.E. 162 at 16-18).
           Foresters’ second argument was addressed in Vinas’ Response to Foresters’ motion for
    summary judgment. (D.E. 173, at 10-12). Under Florida law, Lightbourn did not need to be
    a “captive agent” to be Foresters’ sales agent authorized to make representations on its behalf.
    Almerico v. RLI Ins. Co., 716 So. 2d 774, 776–77 (Fla. 1998) (“an insurance broker may act
    in the dual capacity of broker for the insured and agent of the insurer.”). Furthermore, the
    evidence is undisputed, that Lightbourn was authorized to advise the Vinases that Foresters
    would be basing its contestable claim decision on the insured’s best knowledge and belief.
    (Parrot depo, p. 67, lines 11-18 and p. 88, lines 5-19). That was a lie. Foresters also made
    Lightbourn a statutory agent under §626.342, Fla. Stat. by providing the application for the
    present policy. The evidence is undisputed that Ms. Lightbourn was authorized to sell and
    accurately describe the terms of Foresters’ products, which is precisely what she did here.

                                                  37
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 38 of 45




                Defendant’s Motion in Limine to Preclude Plaintiff from Introducing
                              Bad Faith Claims Handling Evidence

           Bad faith evidence of Foresters’ general claims handling practices is not admissible
    because it is irrelevant to Plaintiff’s breach of contract and fraudulent inducement claims. During
    the depositions of Foresters’ Corporate Representatives, Lisa Buckland, and Dr. Frager, Plaintiff
    asked a series of questions regarding Foresters’ claims handling practices. This testimony, and
    any argument regarding how Foresters’ handles claims, is inadmissible. While this evidence might
    be relevant to a claim for bad faith under Fla. Stat. § 624.155, which challenges the integrity of an
    investigation, it has no place in this action because Plaintiff is precluded from pursuing a bad faith
    claim as a result of Foresters’ timely cure of the violations alleged in Plaintiff’s Civil Remedy
    Notice. See Royal Bahamian Ass’n, Inc. v. QBE Ins. Corp., 745 F. Supp.2d 1380 1381 (S.D. Fla.
    2010) (“[E]vidence of an insurance company’s claims handling procedures . . . are only relevant
    to a claim of bad faith.”)
           Foresters has already paid the Death Benefit, plus interest, and therefore the only issue with
    respect to Plaintiff’s breach of contract claim is damages, which is not relevant to Foresters’ claim
    handling practices. Additionally, evidence of Foresters’ claims handling practices is not relevant
    to Plaintiff’s fraud claim. The elements of fraudulent inducement are: “(1) a false statement of
    material fact; (2) the statement maker’s knowledge that the representation is false; (3) intent that
    the representation induces another’s reliance; and (4) consequent injury to the party acting in
    reliance.” PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802 (11th Cir. 2010).
    Evidence of Foresters’ claim practices has no bearing on whether Mr. Vinas was fraudulently
    induced to purchase the Certificate in 2015.
           Even if the Court finds that this bad faith evidence is relevant, it should be excluded under
    Rule 403 because its probative value would be substantially out weighed by the danger of unfair
    prejudice, confusion of the issues, misleading the jury, and it would cause undue delay and waste
    time. Fed. R. Evid. 403. Introduction of bad faith claims handling evidence would cloud the real
    issues – Plaintiff’s entitlement to damages and whether Mr. Vinas was fraudulently induced to
    purchase the Certificate in 2015.     In Mendez v. Unitrin Direct Prop. & Cas. Ins. Co., 622 F.
    Supp.2d 1233 (M.D. Fla. 2007), the court ordered a new trial because, in part, it found that the
    admission of claims handling evidence substantially prejudiced the insurance company. Id. at
    1239-40.

                                                     38
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 39 of 45




     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
          PLAINTIFF FROM INTRODUCING CLAIMS HANDLING EVIDENCE

           Foresters forces Vinas and the Court to guess what it means by “[b]ad faith evidence
    of general claims handling practices,” which is apparently found somewhere in the 737 pages
    of the four depositions Foresters references. Foresters cannot, however, similarly force Ms.
    Vinas’ case into its bad faith strawman and exclude all evidence on that basis.
           Vinas will, and is entitled to introduce evidence relevant to Foresters’ fraud, i.e. that
    Foresters never intended to apply the best knowledge and belief standard to its contestability
    investigations because, it never even inquires as to the best knowledge and belief after
    expressly promising to do so. Foresters cannot exclude this evidence simply by labeling it
    “claims conduct.” The Eleventh Circuit has clearly held that just because evidence might be
    relevant to a bad faith claim not being pursued, that same evidence is still admissible for other
    purposes. See T.D.S. Inc. v. Shelby Mut. Ins. Co., 760 F.2d 1520, 1527 (11th Cir. 1985). In
    this case, both the claims examiner, Lisa Buckland, and Foresters’ Corporate Representative
    (“CR”), David Sullivan, expressly acknowledged that not investigating the insured’s best
    knowledge and belief, was normal because “it wasn’t a question of what he knew or not... .”
    (Buckland Depo, D.E. 172-6 at p. 53, l. 13 – p. 56, l. 11). David Sullivan confirmed this fraud
    and testified that not only did Foresters not determine Mr. Vinas’ BK&B, no one in the
    contestable claims department ever raised a question about its refusal to do so! (Sullivan
    Depo, D.E. 172-3, p. 300, lines 5-10). In addition, the evidence is undisputed that Foresters
    ignored its own records expressly stating that Mr. Vinas did not know he had diabetes (Id. at
    p. 142 l. 1 – p. 144 l. 25). These uncontested facts, together with similarly uncontroverted
    evidence that Foresters’ sales arm never determined the truth or falsity of its promise to make
    a contestable determination based upon best knowledge and belief, is certainly relevant both
    for the jury to determine any remaining issues of liability and the amount of punitive damages.
           Next, evidence that Foresters refused to address Mr. Vinas’ BK&B in 2017 is evidence
    both that Foresters’ representation to the contrary was a lie and that it had no intent to do so
    in 2015. E.g., Democratic Republic of the Congo v. Air Capital Group, LLC, 2013 WL
    3223686, at *5 (S.D. Fla. June 24, 2013).
           Finally, the evidence relating to Foresters’ fraudulent intent to not pay a contestable
    claim is certainly relevant and not unfairly prejudicial.

                                                   39
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 40 of 45




      Defendant’s Motion in Limine to Preclude Plaintiff from Introducing Evidence of, or
                              Seeking, Consequential Damages

           In Count I of the Complaint, Plaintiff asserts a claim for breach of contract based on
    “Foresters’ failure to timely pay the death benefit to Vinas.” [Second Am. Compl. ¶18.] Even
    though Foresters already paid the full $92,000.00 Death Benefit, plus $26,220.74 in interest,
    for a total amount of $118,220.74, and agreed to pay reasonable attorney’s fees through the
    date of payment, Plaintiff seeks consequential damages as a result of the allegedly untimely
    payment. However, in Citizens Property Ins. Corp. v. Manor House, LLC, No. SC19-1294
    (Fla. 2021), the Florida Supreme Court squarely held that “extra-contractual, consequential
    damages are not available in a first-party breach of insurance contract action because the
    contractual amount due to the insured is the amount owed pursuant to the express terms and
    conditions of the insurance policy.” Citizens Property at 6, 9 (emphasis added) [Ex. A]. The
    Court recognized that “the contractual amount due the insured is the amount owed pursuant
    to the express terms and conditions of the policy.” Id. at 6 (citing Talat Enterprises, 753 So.2d
    at 1283).
           Here, the Certificate contemplates payment of the Death Benefit and interest, which
    Foresters already paid. [Certificate at 12.] The Certificate’s merger clause, which provides
    that the Certificate and application materials, inter alia, constitute the parties’ “entire
    contract,” which could not be modified by anyone. [Id. at 10.] The merger clause expressly
    limits the amount due under the Policy to the Death Benefit and interest. Therefore, Foresters
    fulfilled its contractual obligations, and Plaintiff is not entitled to extra-contractual
    consequential damages as a matter of law as a result of Foresters’ alleged breach of the
    Certificate.   Accordingly, Plaintiff should be precluded from introducing evidence of, and
    seeking, extra-contractual consequential damages.




                                                   40
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 41 of 45




     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
           PLAINTIFF FROM INTRODUCING EVIDENCE OF, OR SEEKING,
                          CONSEQUENTIAL DAMAGES

           As Vinas addresses fully in her responses to the pending motions, (D.E. 162, at 10-11;
    D.E. 173, at 16-17), the Manor House decision did not affect damages in tort suits. In the
    event the Manor House decision becomes final, Vinas may not pursue consequential damages
    for Foresters confession of judgment for breach of contract; however, Vinas will still be able
    to recover the same damages as tort damages under Count III. Foresters argument is
    overreaching and unsupported by law in seeking to prevent Mrs. from presenting evidence of
    how Foresters’ misrepresentation put her in a position to have to sell her jewelry to pay for
    her husband’s headstone and repay loans from family and friends until Foresters final
    confessed judgment and paid the amount due under the contract.
           Foresters’ argument completely ignores the legal and factual basis of Count III (Fraud
    in the Inducement). Count III is not “a first party breach of insurance contract action.” It
    is well-established that in Florida, a plaintiff may recover these “consequential damages” if
    either naturally or proximately caused by fraud. Tampa Union Terminal Co. v. Richards,
    146 So. 591, 596 (Fla. 1933) (explaining that tortfeasor is liable for damages that are “natural
    or proximate” consequences); see also Tew v. Chase Manhattan Bank, N.A., 728 F. Supp.
    1551, 1568 (S.D. Fla. 1990), opinion amended on reconsideration, 741 F. Supp. 220 (S.D.
    Fla. 1990) (“in tort, if there is proximate cause, there is no requirement that the particular type
    of damages be foreseeable”).




                                                    41
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 42 of 45




               Defendant’s Motion in Limine to Preclude Plaintiff from Introducing
                           Evidence of, or Seeking, Punitive Damages

           In Count III of the Complaint, Plaintiff asserts a claim for fraudulent inducement and
    seeks extra-contractual punitive damages. However, in Citizens Property Ins. Corp. v. Manor
    House, LLC, No. SC19-1294 (Fla. 2021), Florida’s Supreme Court held that extra-contractual
    damages are only available in a bad faith action under Section 624.155. Citizens Manor at 6.
    The court held that the plaintiff could not seek extra-contractual damages against the
    insurance company because the insurer was immune from suit under Section 624.155. Id.
           Similarly, Plaintiff may not seek extra-contractual damages against Foresters because
    it is statutorily immune from suit under Section 624.155, as it timely cured the violations
    alleged in Plaintiff’s Civil Remedy Notice (“CRN”). Specifically, on February 5, 2020,
    Plaintiff filed a CRN alleging that Foresters engaged in bad faith conduct based on the same
    conduct underpinning Plaintiff’s fraudulent inducement claim. Plaintiff impeded Foresters’
    efforts to obtain information about the allegations, and did not provide evidence that her claim
    was payable until March 26, 2020⎯leaving Foresters only 10 days to potentially “cure” any
    alleged violation. See Fla. Stat. § 624.155(5)(c) (“No action shall lie if, within 60 days after
    filing notice, the damages are paid or the circumstances giving rise to the violation are
    corrected.”). Immediately thereafter, Foresters paid the full Death Benefit, plus interest, and
    agreed to pay reasonable attorney’s fees and costs, and thereby cured the alleged violations.
    Because Foresters corrected the alleged violations within 60 days of the CRN, it is statutorily
    immune from suit under Section 624.155. See Fla. Stat. § 624.155(5)(c)
           Plaintiff’s request for punitive damages is an improper attempt to do an end run around
    Fla. Stat. § 624.155. Plaintiff may not seek punitive, extra-contractual damages against
    Foresters outside of Fla. Stat. § 624.155. Therefore, Plaintiff should be precluded from
    introducing evidence of, or seeking, punitive damages in this action.




                                                  42
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 43 of 45




        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
     PRECLUDE PLAINTIFF FROM INTRODUCING EVIDENCE OF, OR SEEKING,
                           PUNITIVE DAMAGES

           As discussed more fully in Vinas’ responses to the pending dispositive motions (D.E.
    162, at 10-11; D.E. 173, at 17), Foresters has no legal basis for arguing that punitive and
    consequential damages are not available for Count III (Fraud in the Inducement). In Manor
    House, the Florida Supreme Court held only “that extra-contractual, consequential damages
    are not available in a first-party breach of insurance contract action.” Citizens Prop. Ins.
    Corp. v. Manor House, LLC, SC19-1394, 2021 WL 208455, at *2 (Fla. Jan. 21, 2021).
    Whatever else it did, Manor House did not sub silencio overrule years of precedent holding
    that extra-contractual and punitive damages are available for a separate independent tort such
    as is alleged and proven here. Similarly, Manor House did not construe, much less strike
    down, the anti-preemption clause in Florida’s bad faith statute. § 624.155(8), Fla. Stat.
    (providing that statutory cause of action “does not replace or preempt any other remedy or
    cause of action provided for . . . pursuant to the common law of this state.”). Because Vinas
    did not pursue or plead a bad faith claim, there was nothing for Foresters to “cure” by finally
    paying the death benefit three years after denying it.
           Not only are punitive damages available for Count III (Fraud in the Inducement), they
    are available without an additional showing beyond what is required for Vinas to establish
    liability. See Flying Fish Bikes, Inc. v. Giant Bicycle, Inc., 181 F. Supp. 3d 957, 971 (M.D.
    Fla. 2016) (“[T]he rule now seems clear in Florida that a claim of fraud sufficient to justify
    compensatory damages is also sufficient to support an award of punitive damages.”) (quoting
    Cruise v. Graham, 622 So.2d 37, 41 (Fla. 4th DCA 1993)). The Court should deny Foresters’
    motion in limine because punitive damages are legally available upon a finding of fraud
    liability, and therefore evidence relevant to punitive damages is admissible under Rule 401.




                                                  43
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 44 of 45




          Defendant’s Motion in Limine to Preclude Plaintiff from Offering Testimony
          about Mr. Vinas’ Communications with Rushmore Bank and Ms. Lightbourn

           During Plaintiff’s deposition, she testified that: (1) Rushmore Bank encouraged Mr.
    Vinas to purchase a life insurance policy to ensure that his mortgage would be paid in the
    event of his death; (2) Rushmore Bank provided Mr. Vinas with a list of companies, including
    Foresters; (3) Mr. Vinas called Foresters and Ms. Lightbourn returned Mr. Vinas’ call; and
    (4) Mr. Vinas communicated with Ms. Lightbourn during her alleged visit to his home to
    discuss life insurance: [Plf. Tr. at 31:15-18; 32:16-25; 33:1-2; 35:13-15; 48:5-15; 55:6-17; 58:2-
    7; 65:15-25; 66:1-10]. Plaintiff is attempting to rely on this testimony for its truth to support
    her theory that Foresters lead Mr. Vinas to believe that Ms. Lightbourn was its agent, and
    that Mr. Vinas inquired about the Incontestability period to support her claim that
    information about the Incontestability period was material to his decision to purchase the
    Certificate. However, Plaintiff’s testimony about what Rushmore Bank told Mr. Vinas, and
    the conversations between Mr. Vinas and Ms. Lightbourn, constitutes inadmissible hearsay.
           “Hearsay is a statement, other than one made by the declarant while testifying at the
    trial or hearing, offered in evidence to prove the truth of the matter asserted.” Fed. R. Evid.
    801(c). This Court recognizes that “admission of this hearsay evidence would undermine the
    rules of evidence because it ‘impermissibly permits the testifying [witness] to bolster [her]
    opinion[] and creates the danger that the testifying [witness] will in fact serve as conduits for
    the opinions of others who are not subject to cross examination.’” Royale Green Condo.
    Ass’n, Inc. v. Aspen Specialty Ins. Co., No. 07-CIV-21404, 2009 WL 2208166, *2 (S.D. Fla.
    July 24, 2009) (J., Cooke). Accordingly, Plaintiff should be precluded from offering testimony
    regarding the communications between Rushmore Bank and Mr. Vinas, and between Mr.
    Vinas and Ms. Lightbourn for the truth of the matter asserted, because it is inadmissible
    hearsay and therefore precluded under the Federal Rules of Evidence.




                                                   44
Case 1:18-cv-24100-MGC Document 180 Entered on FLSD Docket 02/26/2021 Page 45 of 45




          PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
     PRECLUDE PLAINTIFF FROM OFFERING TESTIMONY ABOUT MR. VINAS’
       COMMUNICATIONS WITH RUSHMORE BANK AND MS. LIGHTBOURN

           Foresters lumps together many different statements, without offering individualized
    argument as to why each is inadmissible. The Court should deny the motion for this reason
    alone. Duval v. Law Office of Andreu, 09-22636-CIV, 2010 WL 11505552, at *2 (S.D. Fla.
    July 1, 2010). Additionally, the statements are admissible for three reasons:
           1)     The undisputed evidence clearly and unequivocally shows that Lightbourn was
    authorized to make the statements regarding the policy at issue. (D.E. 173, at 6-12 (Response
    to Foresters’ Motion for Summary Judgment)). Her statements are therefore not hearsay. Fed.
    R. Evid. 801(d)(3)(C). Furthermore, Lightbourn was an agent authorized to speak about how
    the policy’s “best knowledge and belief” standard would be applied if contested. Parrot depo
    pgs. 67 and 88. Her statements therefore are not hearsay under Rule 801(d)(2)(D) as well.
           2)     Many of the statements Foresters lumps together are not hearsay under Rule
    801(c)(2) because they are not offered to prove the truth of the matter asserted. For example,
    Vinas describes Lightbourn’s statement that any contestability investigation would rely on the
    BK&B standard. Vinas seeks only to prove that that the statements were made, not that they
    were true. Gonzalez v. Sec'y of Dept. of Homeland Sec., 678 F.3d 254, 262 (3d Cir. 2012)
    (citing Anderson v. U.S., 417 U.S. 211, 219–20 (1974)).              Similarly, Mr. Vinas’
    communication with Rushmore Bank is not offered because Vinas’ claim depends on its being
    true, but rather to explain why she subsequently contacted Foresters. United States v. Manati,
    697 Fed. Appx. 683, 688 (11th Cir. 2017). The same is true for Lightbourn’s request that Mr.
    Vinas provide a doctor’s letter, which merely shows why he provided the 2015 letter from Dr.
    Hershman. (D.E. 172-1, at p. 65 lines 15-25). These statements are all non-hearsay.
           3)     Mr. Vinas is not available to testify, making Vinas’ own testimony describing
    his statements “more probative . . . than any other evidence that [she] can obtain through
    reasonable efforts.” Fed. R. Evid. 807(a)(2). Given that the record as a whole corroborates
    every statement Foresters identifies, Ms. Vinas’ testimony is “supported by sufficient
    guarantees of trustworthiness” to be admitted under Rule 807. If any hearsay exists, (there is
    none as indicated above) is sufficiently reliable to admit.




                                                  45
